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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                             GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

v.                                                          CASE NO. 1:05-cr-00033-MP-GRJ-3

CHARLES WRIGHT, JR.,

       Defendant.

_____________________________/

                                           ORDER

       This cause comes on for consideration upon the Magistrate Judge's Report and

Recommendation dated May 20, 2014. (Doc. 428). The parties have been furnished a copy of

the Report and Recommendation and have been afforded an opportunity to file objections

pursuant to Title 28, United States Code, Section 636(b)(1). Petitioner has filed objections at

doc. 431. I have made a de novo review based on those objections.

       Having considered the Report and Recommendation, and the timely filed objections, I

have determined that the Report and Recommendation should be adopted.

       Accordingly, it is hereby

       ORDERED AND ADJUDGED:

       1.      The Magistrate Judge’s Report and Recommendation (doc. 428) is adopted and
               incorporated by reference in this order.

       2.      Defendant’s second amended motion to vacate, set aside, or correct sentence
               pursuant to 28 U.S.C. § 2255 (doc. 423) is DENIED as untimely.
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        3.       A certificate of appealability is DENIED, pursuant to Rule 11(a) of the Rules
                 Governing Section 2255 Cases in the U.S. District Courts.

        DONE AND ORDERED this             20th day of June, 2014

                                                 s/Maurice M. Paul
                                                Maurice M. Paul, Senior District Judge




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